                            Case 6:24-bk-00640-GER                 Doc 17-1        Filed 02/26/24        Page 1 of 1
Label Matrix for local noticing                      United States Trustee - ORL7/13 7                    Capital One N.A.
113A-6                                               Office of the United States Trustee                  by American InfoSource as agent
Case 6:24-bk-00640-GER                               George C Young Federal Building                      PO Box 71083
Middle District of Florida                           400 West Washington Street, Suite 1100               Charlotte, NC 28272-1083
Orlando                                              Orlando, FL 32801-2210
Mon Feb 26 12:13:58 EST 2024
(p)CARRINGTON MORTGAGE SERVICE LLC                   David Jordan Tax Collector                           Discover Financial
1600 S DOUGLAS RD SUITE 110                          Po Box 327                                           Attn: Bankruptcy
ANAHEIM CA 92806-5951                                Tavares, FL 32778-0327                               Po Box 3025
                                                                                                          New Albany, OH 43054-3025


Florida Department of Revenue                        Internal Revenue Service                             John and Laurel Connell
Bankruptcy Unit                                      Post Office Box 7346                                 1122 Lakeshore Blvd
Post Office Box 6668                                 Philadelphia PA 19101-7346                           Tavares, FL 32778-2320
Tallahassee FL 32314-6668


Kubota Credit Corp, USA                              Lake County Sales Tax                                Lake County Tax Collector
Attn: Bankruptcy                                     Department of Revenue                                Post Office Box 327
Po Box 2048                                          900 N 14th St                                        Tavares FL 32778-0327
Grapevine, TX 76099                                  Suite 20
                                                     Leesburg, FL 34748-3829

Mariner Finance, LLC                                 RTO National LLC                                     Westlake Financial Services
Attn: Bankruptcy                                     PO Box 9759                                          Attn: Bankruptcy
8211 Town Center Drive                               Greenville, SC 29604-9310                            Po Box 76809
Nottingham, MD 21236-5904                                                                                 Los Angeles, CA 90076-0809


Earl John Lee Jr.                                    Jonathan D Eichelberger                              Laurie K Weatherford
316 N Lake Avenue                                    Myers & Eichelberger, P.L.                           Post Office Box 3450
Leesburg, FL 34748-7057                              5750 Major Blvd                                      Winter Park, FL 32790-3450
                                                     Suite 250
                                                     Orlando, FL 32819-7964



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Carrington Mortgage Services
Attn: Bankruptcy
1600 South Douglass Road, Stes 110 & 200
Anaheim, CA 92806




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Carrington Mortgage Services, LLC                 End of Label Matrix
                                                     Mailable recipients    17
                                                     Bypassed recipients     1
                                                     Total                  18
